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Attorney for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON


 UNITED STATES OF AMERICA,                       Case No. 3:21-cr-000990-SI

                       Plaintiff,                PETITION TO ENTER PLEA OF
                                                 GUILTY, CERTIFICATE OF COUNSEL,
        v.                                       AND ORDER

 CARLOS ARON PALADINI,

                       Defendant.

       The defendant represents to the Court:

        1.    My name is Carlos Paladini. I am 51 years old. I have gone to school up to and

 including some college courses.

        2.    My attorney is Thomas E. Price.

        3.    My attorney and I have discussed my case fully. I have received a copy of the

Information. I have read the Information, or it has been read to me, and I have discussed it with

my attorney. My attorney has counseled and advised me concerning the nature of each charge,

any lesser-included offense(s), and the possible defenses that I might have in this case. I have
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 been advised and understand that the elements of the charge alleged against me to which I am

 pleading "GUILTY" are as follows:          money laundering.      I have had a full and adequate

 opportunity to disclose to my attorney all facts known to me that relate to my case. I understand

 that the Court may ask whether I am satisfied with the advice I have received from my attorney.

         4.    I know that if I plead "GUILTY," I will have to answer any questions that the judge

 asks me about the offense to which I am pleading guilty. I also know that if I answer falsely,

 under oath, and in the presence of my attorney, my answers could be used against me in a

 prosecution for perjury or false statement.

         5.    I am not under the influence of alcohol or drugs. I am not suffering from any injury,

 illness or disability affecting my thinking or my ability to reason. I have not taken any drugs or

 medications within the past seven (7) days.

        6.     I understand that conviction of a crime can result in consequences in addition to

 imprisonment. Such consequences include deportation, or removal from the United States, or

 denial of naturalization, if I am not a United States citizen; loss of eligibility to receive federal

 benefits; loss of certain civil rights (which may be temporary or permanent depending on

applicable state or federal law), such as the right to vote, to hold public office, and to possess a

firearm; and loss of the privilege to engage in certain occupations licensed by the state or federal

government.

        7.     I know that I may plead "NOT GUILTY" to any crime charged against me and that

I may persist in that plea if it has already been made. I know that if I plead "NOT GUILTY" the

Constitution guarantees me:

               a.       The right to a speedy and public trial by jury, during which
               I will be presumed to be innocent unless and until I am proven guilty

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               by the government beyond a reasonable doubt and by the unanimous
               vote of twelve jurors;

               b.      The right to have the assistance of an attorney at all stages of
               the proceedings;

               c.     The right to use the power and process of the court to compel
               the production of evidence, including the attendance of witnesses in
               my favor;

               d.     The right to see, hear, confront, and cross-examme all
               witnesses called to testify against me;

               e.      The right to decide for myself whether to take the witness
               stand and testify, and if I decide not to take the witness stand, I
               understand that no inference of guilt may be drawn from this
               decision; and

               f.      The right not to be compelled to incriminate myself.

        8.     I know that if I plead "GUILTY" there will be no trial before either a judge or a

jury, and that I will not be able to appeal from the judge's denial of any pretrial motions I may

 have filed concerning matters or issues not related to the court's jurisdiction.

        9.     In this case I am pleading "GUILTY" under Rule 11 (c)( 1)(B). My attorney has

explained the effect of my plea under Rule 1 l(c)(l)(B) to be as follows:

               My plea of guilty is under Rule l l(c)(l)(B); therefore, although the
               judge will consider the recommendations and agreements of both
               the prosecution and defense attorneys concerning sentencing, the
               judge is not obligated to follow those recommendations or
               agreements. If the judge imposes a sentence different from what I
               expected to receive under the terms of my Plea Agreement with the
               prosecutor, I do not have a right to withdraw my plea.

        10.    I know the maximum sentence which can be imposed upon me for the crime to

which I am pleading guilty is twenty (20) years' imprisonment and a fine of $500,000.

        11.    I know that the judge, in addition to any other penalty, will order a special

assessment as provided by law in the amount of$ 100.

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         12.   I know that if I am ordered to pay a fine, and I willfully refuse to pay that fine, I

 can be returned to court, where the amount of the unpaid balance owed on the fine can be

 substantially increased by the judge and I can be imprisoned for up to one year.

         13.   My attorney has discussed with me the Federal Sentencing Guidelines. I know the

 Guidelines are advisory, not mandatory. I also know the sentencing judge, in determining the

 particular sentence to be imposed, must consider those factors set forth in Title 18, United States

 Code, Section 3553(a), including, but not limited to: the nature and circumstances of the offense,

 my own history and characteristics, the goals of sentencing (punishment, deterrence, protection,

 and rehabilitation), and the sentencing range established by the advisory Guidelines. If my

 attorney or any other person has calculated a Guideline range for me, I know that this is only a

 prediction and advisory, and is only one of the factors that the judge will consider in making a

 final decision as to what sentence will be imposed. I also know that a judge may not impose a

 sentence greater than the maximum sentence referred to in paragraph (10) above.

        14.    I know from discussion with my attorney that, under the Federal Sentencing

 Guidelines, if I am sentenced to prison I am not entitled to parole. I will have to serve the full

 sentence imposed except for any credit for good behavior that I earn. I can earn credit for good

 behavior in prison at a rate of up to 54 days for each year of imprisonment served. Credit for

 good behavior does not apply to a sentence of one year or less.

        15.    I know that if I am sentenced to prison, the judge will impose a term of supervised

release to follow the prison sentence. During my supervised release term I will be supervised by

a probation officer according to terms and conditions set by the judge. In my case, the term of

supervised release can be up to three (3) years. If I violate the conditions of supervised release, I

may be sent back to prison for up to two (2) years.
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         16.    I know that in addition to or in lieu of any other penalty, the judge can order

 restitution payments to any victim of any offense to which I plead guilty. I am also informed that,

 for certain crimes of violence and crimes involving fraud or deceit, it is mandatory that the judge

 impose restitution in the full amount of any financial loss or harm caused by an offense. If

 imposed, the victim can use the order of restitution to obtain a civil judgment lien. A restitution

 order can be enforced by the United States for up to twenty (20) years from the date of my release

 from imprisonment, or, if I am not imprisoned, twenty (20) years from the date of the entry of

judgment. If I willfully refuse to pay restitution as ordered, a judge may resentence me to any

 sentence which could originally have been imposed.

         17.    On any fine or restitution in an amount of $2,500 or more, I know that I will be

 required to pay interest unless that fine or restitution is paid within fifteen ( 15) days from the date

 of the entry of judgment.

         18.   If I am on probation, parole, or supervised release in any other state or federal case,

 I know that by pleading guilty in this court my probation, parole or supervised release may be

revoked and I may be required to serve time in that case, which may be consecutive, that is, in

addition to any sentence imposed on me in this court.

         19.   If I have another case pending in any state or federal court, I know that my Petition

and Plea Agreement in this case do not, in the absence of an express and written agreement, apply

to my other case( s), and that I can be faced with consecutive sentences of imprisonment.

        20.    My plea of "GUILTY" is based on a Plea Agreement that I have made with the

prosecutor. That Plea Agreement is attached hereto and incorporated herein. I have read or had

read to me the Plea Agreement, and I understand the Plea Agreement.



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         21.    The Plea Agreement contains the only agreement between the United States

 government and me. No officer or agent of any branch of government (federal, state or local) or

 anyone else has promised or suggested that I will receive a lesser term of imprisonment, or

 probation, or any other form of leniency if I plead "GUILTY" except as stated in the Plea

 Agreement. I understand that I cannot rely on any promise or suggestion made to me by a

 government agent or officer which is not stated in writing in the Plea Agreement, or which is not

 presented to the judge in my presence in open court at the time of the entry of my plea of guilty.

         22.    My plea of "GUILTY" is not the result of force, threat, or intimidation.

         23.    I hereby request that the judge accept my plea of "GUILTY" to Count 1 of the

 Information.

        24.     I know that the judge must be satisfied that a crime occurred and that I committed

 that crime before my plea of "GUILTY" can be accepted. With respect to the charge to which I

 am pleading guilty, I represent that I did the following acts and that the following facts are true:

       On or about November 29, 2020, in the district of Oregon, defendant Carlos Aron
       Paladini knowingly conducted and attempted to conduct a financial transaction
       affecting interstate and foreign comer, which involved the proceeds of a specified
       unlawful activity, that is the unlawful distribution of controlled substances, in
       violation of 21 U.S.C. § 841(a)(l) with the intent to promote the carrying on the
       distribution of controlled substances, and that while conducting and attempting to
       conduct such financial transaction, defendant knew that the property involved in
       the financial transaction represented the proceeds of some form of unlawful activity
       in violation of 18 U.S.C. 1956(a)(l)(A)(i).

        25.     I offer my plea of "GUILTY" freely and voluntarily and of my own accord and

with a full understanding of the allegations set forth in the Information, and with a full

understanding of the statements set forth in this Petition and in the Certificate of my attorney that

is attached to this Petition.



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       SIGNED by me in the presence of my attorney, after reading (or having had read to me)

all of the foregoing pages and paragraphs of this Petition on this 6th day of April, 2021.

                                                     s/ Carlos Aron Paladini
                                                     Carlos Aron Paladini
                                                     Defendant




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                                  CERTIFICATE OF COUNSEL

        The undersigned, as attorney for defendant, Carlos Paladini, hereby certifies:

        1.       I have fully explained to the defendant the allegations contained in the Information

in this case, any lesser-included offense(s), and the possible defenses which may apply in this case.

         2.      I have personally examined the attached Petition to Enter Plea of Guilty and Order

 Entering Plea, explained all its provisions to the defendant, and discussed fully with the defendant

 all matters described and referred to in the Petition.

         3.      I have explained to the defendant the maximum penalty and other consequences of

 entering a plea of guilty described in paragraphs (6)-(20) of the Petition, and I have also explained

 to the defendant the applicable Federal Sentencing Guidelines.

         4.      I recommend that the Court accept the defendant's plea of "GUILTY."

        SIGNED by me in the presence of the above-named defendant, and after full discussion

with the defendant of the contents of the Petition to Enter Plea of Guilty, and any Plea Agreement,

on this 6th day of April, 2021.

                                                          s/ Thomas E. Price
                                                          Thomas E. Price
                                                          Attorney for Defendant




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                                     ORDER ENTERING PLEA

       I find that the defendant's plea of"GUILTY" has been made freely and voluntarily and not

out of ignorance, fear, inadvertence, or coercion. I further find the defendant has admitted facts

that prove each of the necessary elements of the crime to which the defendant has pled guilty.

       IT IS THEREFORE ORDERED that the defendant's plea of "GUILTY" be accepted and

entered as requested in this Petition and as recommended in the Certificate of defendant's attorney.

       DATED     thiJ.ity     of ~      2021, in open court.             \               ,


                                                                                    . Simon
                                                     Judge,    .S. District Court




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